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                                                        UNITED STATES BANKRUPTCY COURT
                                                       EASTERN DISTRICT OF NORTH CAROLINA

 IN RE:                                                                     CASE NO:
             Alisa D Copeland




               Debtor (in a joint case, "debtor
                        shall include "debtors")

                                                                     CHAPTER 13 PLAN

        The format of this chapter 13 plan has been approved by the bankruptcy judges for the Eastern District of North
Carolina.

        CONFIRMATION PROCESS: Before a plan is confirmed, the chapter 13 trustee will file a separate Motion and
Notice for Confirmation that will be served on all creditors. The trustee's Motion and Notice for Confirmation may
incorporate some or all of the terms of the debtor's proposed plan, and will state the date by which objections to
confirmation must be filed with the court. Any objections to confirmation must state with particularity the grounds for the
objection.
The rights of creditors may be affected if the plan is confirmed, and creditors should carefully read the plan.

         PROOF OF CLAIM: A creditor's claim will not be allowed or paid unless a proof of claim is filed by or on behalf
of the creditor. Only allowed claims will receive a distribution from the chapter 13 trustee. Confirmation of a plan does
not preclude the debtor, trustee or a party in interest from filing an objection to a claim.

         PRE-CONFIRMATION ADEQUATE PROTECTION PAYMENTS: Pre-confirmation adequate payments
required by 11 U.S.C. § 1326(a)(1) that are to be made through the chapter 13 trustee pursuant to Local Rule 3070-1(b)
shall be disbursed by the trustee in accordance with the trustee's customary distribution process. A creditor will not
receive a pre-confirmation adequate protection payment unless the creditor timely files a proof of claim.

       INFORMATION ABOUT THE DEBTOR: The debtor's Current Monthly Income as defined in 11 U.S.C. §
101(10A) is ABOVE / BELOW (designate one) the applicable state median income.

            The debtor's projected disposable income as referred to in 11 U.S.C. § 1325(b)(1)(B) is $ 0.00

        The amount referred to in 11 U.S.C.§1325(a)(4) that would be paid to unsecured claims if the debtor's estate were
liquidated in a case under chapter 7 of title 11 is $ 0 . The "liquidation test" has been computed as follows:

 Asset (Real Property, Auto, Other)                                                     Liquidation Value Net of Security Interest
 2565 Bell Williams Road Burgaw, NC 28425 Pender County                                                                           0.00
 House & lot at 2565 Bell Williams Rd., Burgaw, NC 28425,
 Pender County
 FMV: $92,106.00 (Appraised value $99,106.00 Repair Costs
 estimated at $7,000.00 dated 02/05/15)
 Purchased: 11/18/1998
 Pric
 .5 acres with FEMA Trailer                                                                                                 2,500.00
 FMV: $4500.00 (TV $5,000.00 - 10% liquidation cost)
 Purchased: 2003
 Price: $1,500.00
 TV: $5,000.00
 Ownership: Debtor has a 25% share of property
 Parcel ID: 2268-80-0385-0000
 Located: FEMA Trailer and Lot 59 loop Road Bu


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 Asset (Real Property, Auto, Other)                                                     Liquidation Value Net of Security Interest
 2007 Chevrolet Tahoe 250,000 miles                                                                                               0.00
 VIN: 1GNFC13C37R345095
 FMV: $ 10,700.00 less 10% = $9,630.00
 Purchased: 05/2011
 Price: $26,000.00

 Ownership: Debtor & Non-Filing Co-Borrower
 Vehicle is subject to a charge off in the amount of $15,724.23
 to Wells
 Living Room Furniture                                                                                                            0.00
 Bedroom Furniture                                                                                                                0.00
 Small Kitchen Appliances                                                                                                         0.00
 Stove                                                                                                                            0.00
 Refrigerator                                                                                                                     0.00
 Freezer                                                                                                                          0.00
 Microwave                                                                                                                        0.00
 Dishwasher                                                                                                                       0.00
 Washing Machine & Dryer                                                                                                          0.00
 China & Dishes                                                                                                                   0.00
 Silverware                                                                                                                       0.00
 Dining Room Furniture                                                                                                            0.00
 CD's                                                                                                                             0.00
 Books & Encyclopedia's                                                                                                           0.00
 Office Equipment (Desk, Chair)                                                                                                   0.00
 Any and all miscellaneous household goods and personal                                                                           0.00
 items.
 Televisions                                                                                                                      0.00
 Stereo/Radio                                                                                                                     0.00
 VCR/DVD                                                                                                                          0.00
 Printer                                                                                                                          0.00
 Laptop                                                                                                                           0.00
 The Debtor(s) is/(are) not presently aware of any pre-petition                                                                   0.00
 claims or other unliquidated debts to which s/he/they might
 be entitled. If the Debtor(s) learn(s) that s/he/they may be
 entitled to recover any unliquidated claims or debts which
 arose pre-pet
 Cash on hand                                                                                                                     0.00
 SECU Checking Acct #9802                                                                                                         0.00
 SECU Share Acct # 9718                                                                                                           0.00
 North Carolina State Retirement Plan                                                                                             0.00
 The Debtor(s) is/(are) not presently aware of any liquidated                                                                     0.00
 debts owed to him (her/them), including tax refunds. If the
 Debtor(s) later learn(s) that s/he/they may be entitled to
 collect any such liquidated debts, s/he/they reserve(s) the
 right to amend t
 The Debtor(s) is/(are) not presently aware of any pre-petition                                                                   0.00
 claims or other unliquidated debts to which s/he/they might
 be entitled. If the Debtor(s) learn(s) that s/he/they may be
 entitled to recover any unliquidated claims or debts which
 arose pre-pet
 Any/all property specifically listed on Schedules A or B,                                                                        0.00
 including any tax refund or economic stimulus rebates.



                                                          PLAN TERMS PROPOSED BY DEBTOR

1. PAYMENTS AND LENGTH OF PLAN
        The debtor shall make payments to the trustee in the aggregate amount of $ 72,840.00 , which shall be payable
as follows (state amount of monthly payment and the number of months to be paid): $1,214.00 per month for 60
months .
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2. PAYMENT OF DEBTOR'S BASE ATTORNEY'S FEES
       The balance of the debtor's attorney's base fee to be paid through the plan is $ 4,600.00                     (representing a base fee
of $ 5,000.00 less the amount of $ 400.00 which has already been paid).
3. PAYMENT OF SECURED CLAIMS (PAID THROUGH THE PLAN)
        The secured claims to be paid through the plan are listed in the chart at the end of this paragraph. The allowed
amounts of the secured claims will be limited to the amounts stated in the column "Amount of Secured Claim to be Paid,"
which will be paid with interest at the rate shown in the chart. Distributions will be made by the trustee to the holders of
secured claims over the duration of the plan as stated in Paragraph 1, and shall be subject to the disbursements for
attorney's fees as set forth in Local Rule 2016-1. Unless otherwise ordered by the court, the amount of a creditor's claim
in excess of the allowed amount of the secured claim shall be a general unsecured claim.
 Creditor                  Collateral               910/             Amount of    Collateral   Amount of     Int.    If Entitled Est. Mo. Pymt.
                           Description               365                Claim        Value        Secured    Rate      to §1326
                                                    Claim                                      Claim to be                PMSI
                                                   under §                                            Paid          Adeq. Prot.
                                                   1325(a)                                                                Pymt.
                                                      ?                                                                 Specify
                                                     Y/N                                                                Amt. of
                                                                                                                          Pymt.
 USDA Rural                2565 Bell                   Y             $60,798.81   $92,106.00    $34,920.00   0%           $0.00         $582.00
 Development               Williams Road
                           Burgaw, NC
                           28425 Pender
                           County
                           House & lot at
                           2565 Bell
                           Williams Rd.,
                           Burgaw, NC
                           28425, Pender
                           County
                           FMV:
                           $92,106.00
                           (Appraised
                           value
                           $99,106.00
                           Repair Costs
                           estimated at
                           $7,000.00
                           dated
                           02/05/15)
                           Purchased:




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 Creditor                  Collateral               910/             Amount of    Collateral   Amount of     Int.    If Entitled Est. Mo. Pymt.
                           Description               365                Claim        Value        Secured    Rate      to §1326
                                                    Claim                                      Claim to be                PMSI
                                                   under §                                            Paid          Adeq. Prot.
                                                   1325(a)                                                                Pymt.
                                                      ?                                                                 Specify
                                                     Y/N                                                                Amt. of
                                                                                                                          Pymt.
 Wells Fargo               2007                        N             $15,724.23   $9,630.00      $9,630.00   5.5%         $0.00         $202.51
 Dealer Services           Chevrolet
                           Tahoe 250,000
                           miles
                           VIN:
                           1GNFC13C37
                           R345095
                           FMV: $
                           10,700.00 less
                           10% =
                           $9,630.00
                           Purchased:
                           05/2011
                           Price:
                           $26,000.00

                           Ownership:
                           Debtor &
                           Non-Filing
                           Co-Borrower
                           Vehicle is
                           subject to a
                           charge off in
                           the amount of
                           $15,
 Furniture Fair            Living Room                 Y               $314.66       $75.00         $75.00   5.5%         $0.00           $1.58
                           Furniture

4. PROPERTY TO BE SURRENDERED TO SECURED CREDITORS

         The Debtor Will Surrender The Collateral Listed In The Chart At The End Of This Paragraph. Upon
confirmation of the plan, the automatic stay and, if applicable, the codebtor stay, will terminate with respect to the
surrendered collateral. No claim for a deficiency will be allowed unless it is filed within 180 days after confirmation of
the plan, and no distribution will be made to an affected secured creditor unless the secured creditor has given the debtor
credit and reduced its claim to account for the surrendered collateral.
 Creditor                                                      Collateral Description
 -NONE-

5. CURING DEFAULTS
        Pursuant to 11 U.S.C. § 1322(b)(3) and/or (5), the pre-petition defaults listed in the chart at the end of this
paragraph will be cured through the plan in full with interest, if any, at the rate specified in the chart. The amount of the
arrearage in the chart is an estimation and the amount of the arrearage, unless otherwise ordered by the court, shall be
determined by the amount stated in the creditor's proof of claim. After the arrearage, as stated in the proof of claim or as
otherwise determined by the court, has been paid through the plan, all pre-petition defaults shall be deemed to be cured,
the debtor's obligation shall be deemed to be current as of the date of the petition, the secured creditor shall have no right
to recover any amount alleged to have arisen prior to the filing of the petition, and the secured creditor may not declare a
default of the note, mortgage or other loan document based upon a pre-petition default.
 Creditor                        Collateral Description                  Estimated Amount of          Interest to be Paid on
                                                                                      Arrearage       Arrearage (0% if none
                                                                                                            specified)

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 Creditor                                      Collateral Description                      Estimated Amount of    Interest to be Paid on
                                                                                                     Arrearage    Arrearage (0% if none
                                                                                                                        specified)
 USDA Rural Development                        2565 Bell Williams Road                               $12,944.05            0%
                                               Burgaw, NC 28425 Pender
                                               County
                                               House & lot at 2565 Bell
                                               Williams Rd., Burgaw, NC
                                               28425, Pender County
                                               FMV: $92,106.00 (Appraised
                                               value $99,106.00 Repair
                                               Costs estimated at $7,000.00
                                               dated 02/05/15)
                                               Purchased:

6. SECURED CLAIMS TO BE PAID DIRECTLY TO CREDITORS BY DEBTOR
        The following secured claims shall be paid by the debtor directly to the secured creditors according to the
contractual terms of the secured claims:
 Creditor                                                                          Collateral Description
 -NONE-

7. PRE-PETITION DOMESTIC SUPPORT OBLIGATIONS
         The following arrearage claims for pre-petition domestic support obligations as defined in 11 U.S.C. §101(14A)
shall be paid in full through this plan pursuant to 11 U.S.C.§507(a)(1) unless the domestic support obligation claimant
agrees to a different treatment or the court orders otherwise:
 Creditor                                   Collection Agency                                        Amount of Arrearage
 -NONE-


         The debtor shall directly pay all ongoing domestic support obligations that become due after the filing of the
petition.

8. PRIORITY CLAIMS (EXCLUDING DOMESTIC SUPPORT OBLIGATIONS)
        The following claims that are entitled to priority pursuant to 11 U.S.C. §507 shall be paid in full through this plan
unless the claimant agrees to a different treatment or the court orders otherwise:
 Creditor                                   Type of Priority                                      Amount of Priority Claim
 Nc Dept of Revenue                                            Taxes and certain other debts                                         $2,500.00

9. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
         Executory contracts and leases that are being assumed shall be paid directly by the debtor according to the
contractual terms of the executory contract or lease . Pre-petition defaults listed in the chart at the end of this paragraph
will be cured through the plan. The amount of the arrearage in the chart is an estimation and the amount of the arrearage,
unless otherwise ordered by the court, shall be determined by the amount stated in the creditor's proof of claim. After the
arrearage, as stated in the proof of claim, has been paid through the plan, all pre-petition defaults shall be deemed to be
cured, the debtor's obligation shall be deemed to be current as of the date of the petition, the lessor or party to the
executory contract shall have no right to recover any amount alleged to have arisen prior to the filing of the petition, and
the lessor or party to the executory contract may not declare a default of the lease or contract based upon a pre-petition
default. Claims arising from the rejection of executory contracts and leases shall be general unsecured claims.
 Lessor/Creditor           Subject of                  To be Assumed,          Amount of Arrearage                Term of Cure
                           Lease/Contract             Rejected, or other                                               (Months)
                                                           Treatment
 -NONE-


10. CO-DEBTOR AND OTHER SPECIALLY CLASSIFIED UNSECURED CLAIMS
              The following claims, if allowed, shall be paid as specially classified unsecured claims and shall receive the
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following designated treatment:
 Creditor                                                      Amount of Debt                                 Treatment of Claim
                                                               Specially Classified
 -NONE-


11. GENERAL UNSECURED CLAIMS
        General unsecured claims shall be paid through the plan pro rata to the extent that funds are available after
disbursements are made to pay secured claims, arrearage claims, priority claims, and other specially classified claims.


12. DISCHARGE
         Subject to the requirements, conditions and limitations provided in 11 U.S.C. §1328, and unless the court
approves a written waiver of discharge executed by the debtor, the court shall, as soon as practicable after completion by
the debtor of all payments under the plan, grant the debtor a discharge of all debts provided for by the plan or that are
disallowed under 11 U.S.C.§ 502.


13. OTHER PLAN PROVISIONS
         A. Lien Retention. Holders of allowed secured claims shall retain the liens securing their claims to the extent
provided by 11 U.S.C.§ 1325(a)(5)(B)(i).
         B. Vesting of Property of the Estate. Property of the estate shall vest in the debtor pursuant to 11 U.S.C. §
1327(b) unless this box is checked , in which event property of the estate shall remain property of the estate after
confirmation of the plan.
          Except as otherwise provided, property of the estate and property that vests in the debtor upon confirmation shall
remain in the possession and control of the debtor, and the trustee shall have no liability arising out of the property or its
retention or use by the debtor. The debtor's use of the property shall be subject to the requirements of 11 U.S.C. §363, all
other provisions of title 11, the Federal Rules of Bankruptcy Procedure and the Local Rules of this court.
         C. Creditor Notices When Debtor to Make Direct Payments. Secured Creditors, lessors and parties to executory
contracts that will be paid directly by the debtor may send standard payment notices to the debtor without violating the
automatic stay.
         D. Rights of Debtor and Trustee to Avoid Liens and to Recover Transfers. Confirmation of the plan shall not
prejudice the rights of the debtor or the trustee to bring actions to avoid liens or to avoid and recover transfers. Actions to
avoid liens or to avoid and recover transfers must be initiated by separately filed motions or complaints.
              E. Other Provisions of the Plan:
              (Please attach additional pages as necessary)
          This Chapter 13 plan will be deemed complete and shall cease and a discharge shall be entered, upon payment to
the Trustee of a sum sufficient to pay in full: (A) Allowed administrative priority claims, including specifically the Trustee's
commissions and attorneys' fees and expenses ordered by the Court to be paid to the Debtor's Attorney, (B) Allowed secured
claims (including but not limited to arrearage claims), excepting those which are scheduled to be paid directly by the Debtor
"outside" the plan, (C) Allowed unsecured priority claims, (D) Cosign protect consumer debt claims (only where the Debtor
proposes such treatment), (E) Post-petition claims allowed under 11 U.S.C. § 1305, (F) The dividend, if any, required to be paid
to non-priority, general unsecured creditors (not including priority unsecured creditors) pursuant to 11 U.S.C. § 1325 (b) (1)
(B), and (G) Any extra amount necessary to satisfy the "liquidation test" as set forth in 11 U.S.C. §1325(a)(4).
Any judgments against the Debtor(s) which, as of the date of the Petition, do not attach to real estate owned by the Debtor(s)
or have been avoided are deemed extinguished upon entry of Discharge and will be of no effect as to the future ownership of
real estate by the Debtor(s).

              Coastal Federal Credit Union                           Debtor(s) intend to avoid lien under 522(f)(1) or 522(f)(2)




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 Date September 1, 2016                                              Signature   /s/ Alisa D Copeland
                                                                                 Alisa D Copeland
                                                                                 Debtor




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